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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

   PENGUIN RANDOM HOUSE LLC, et al.,

         Plaintiffs,

   v.                                             Case No. 6:24-CV-01573-CEM-RMN

   BEN GIBSON, in his official capacity as
   Chair of the Florida State Board of
   Education, et al.,

         Defendants.
   ___________________________

                              Plaintiffs’ Response To The
                  State Defendants’ Notice Of Supplemental Authority

         Contrary to the State Defendants’ contention, the Fifth Circuit’s decision in

   Little v. Llano County, No. 23-50224 (5th Cir. May 23, 2025) (en banc), does not

   supplement their “government speech argument made in their summary judgment

   papers.” (Notice of Supplemental Authority, ECF No. 123, at 1.) No court has ever

   held that library book removal decisions are government speech. Little did not change

   that. Moreover, the Little court’s decision to eliminate the First Amendment rights of

   students with regard to library books is contrary to the decisions of numerous other

   courts that have addressed this issue, including the Eleventh Circuit.

         The Fifth Circuit did not hold that “a library’s collection decisions are

   government speech.” (Notice at 1.) Rather, only seven of seventeen judges joined the

   section of the majority opinion concerning government speech. (See Slip Op. at 2 n. †.

   See also Slip Op. Dissent at 22 (referencing “the government speech doctrine that fails
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   to command a majority in its own name” (Higginson, J., dissenting).) It remains the

   case that no court has ever found that a school library collection is government speech.

   (See Plaintiffs’ Mot., ECF No. 107, at 26-27 and n.15 (collecting cases).)

          The Eleventh Circuit has held that student plaintiffs have standing to challenge

   decisions in schools based on their First Amendment right to receive information. In

   American Civil Liberties Union of Florida, Inc. v. Miami-Dade County School Board, the

   Eleventh Circuit held that the First Amendment provided a student with standing to

   challenge the school board’s removal of a book from his school district libraries. See

   557 F.3d 1177, 1195 (11th Cir. 2009). And in Virgil v. School Board of Columbia County,

   Florida, the Eleventh Circuit necessarily found that the First Amendment provided

   standing to student plaintiffs to challenge their school district’s removal of a textbook

   by reaching the merits of their claims. See 862 F.2d 1517, 1525 (11th Cir. 1989). The

   Fifth Circuit’s decision in Little—which effectively ruled that plaintiffs lack standing to

   challenge a library’s decision to remove books under the First Amendment (see Slip

   Op. at 28)—directly contradicts those Eleventh Circuit precedents. For that reason,

   Little provides no authority for the State Defendants in this Court.

          Finally, Little is materially different from this case in that it concerned the

   removal of a small number of books by a county library in Texas in deference to the

   discretion exercised by local decisionmakers. In contrast, the Challenged Provisions

   are a statewide mandate that require the removal of hundreds of books with no regard

   for the discretion of local schools or librarians or different community standards.



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          The Challenged Provisions preclude school districts and their educators from

   considering in their decisions the value of each book as a whole as the Supreme Court

   requires. The Fifth Circuit’s decision in Little does not advance the State Defendants’

   position in this case.

   Dated: June 4, 2025                     /s/ David A. Karp
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